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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                    Plaintiff,



v.                                   MEMORANDUM OF LAW & ORDER
                                     Criminal File No. 11-87 (MJD/JJK)

(12) SUNDAYGA DEXTER ROBERTS,

                    Defendant.

Lola Velazquez-Aguilu, Assistant United States Attorney, Counsel for Plaintiff.

Sundayga Dexter Roberts, pro se.

I.    INTRODUCTION

      This matter is before the Court on Defendant Sundayga Dexter Roberts’

Pro Se 60B Motion to Consider Fast Track Program and Second Chance Act.

[Docket No. 1011]

II.   BACKGROUND

      On September 6, 2011, Defendant Sundayga Dexter Roberts pled guilty to

Counts 2 and 42 of the Superseding Indictment: Count 2, Bank Fraud, in

violation of 18 U.S.C. §§ 2 and 1344; and Count 42, Aggravated Identity Theft, in


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violation of 18 U.S.C. §§ 2 and 1028A. In August 2012, the Court sentenced

Defendant to sixty-three months in prison. [Docket No. 750] Defendant did not

appeal his sentence.

       On October 7, 2013, Defendant filed the instant motion requesting that the

Court lower his sentence based on the factors found under 18 U.S.C. § 3553(a)(6),

the Fast Track Program, the Second Chance Act, and his ineligibility to

participate in the Residential Drug Abuse Program.

III.   DISCUSSION

       Defendant requests that the Court modify his sentence because he will be

deported to Liberia upon the completion of his sentence and, therefore, is

ineligible to participate in the Residential Drug Abuse Program or the Second

Chance Act, both of which Defendant claims would allow him to be released

from prison early. Additionally, Defendant asks for the Court to consider that he

would have received a lower sentence if he had been eligible for the Fast Track

Program. Defendant also asks the Court to modify his sentence based on 18

U.S.C. § 3553(a)(6), “the need to avoid unwarranted sentence disparities among

defendants with similar records who have been found guilty of similar conduct.”




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      This Court does not have jurisdiction to modify a term of imprisonment

once it has been imposed except 1) upon a motion from the Director of the

Bureau of Prisons based on extraordinary and compelling circumstances or the

defendant’s advanced age; 2) to the extent expressly authorized by statute or by

Federal Rule of Criminal Procedure 35; or 3) if a defendant was sentenced based

on a sentencing range that has been subsequently reduced by the Sentencing

Commission and designated to apply retroactively. 18 U.S.C. § 3582(c). See also

United States v. Auman, 8 F.3d 1268, 1270-72 (8th Cir. 1993); United States v.

Contreras, 518 Fed. App’x 756 (11th Cir. 2013). In this case, there is no motion

from the Director of the Bureau of Prisons; no statute authorizes modification of

Defendant’s sentence; Rule 35, which permits correction of an error within 14

days of sentencing and reduction based on substantial assistance to the

Government, does not apply; and Defendant was not sentenced based on a

sentencing range that has been subsequently reduced by the Sentencing

Commission. The Court does not have jurisdiction to modify Defendant’s

sentence.

      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:



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     Defendant Sundayga Dexter Roberts’ Pro Se 60B Motion to Consider
     Fast Track Program and Second Chance Act [Docket No. 1011] is
     DENIED.




Dated: December 19, 2013          s/ Michael J. Davis
                                  Michael J. Davis
                                  Chief Judge
                                  United States District Court




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